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AFFVT

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Nevada Bar No. 2566

ROSS H. MOYNIHAN, ESQ.
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Attorneys for Plaintiff

 

UNITED STATES DISTRICT COURT
DISTRICT NEVADA

KATHERINE MAYORGA, individually,

Plaintiff, 2:19-cv-00168-JAD-C WH

VS.

CRISTIANO RONALDO, individually,
Does I-XX and Roe Corporations I-XX;

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'
Defendant (s). )
)

 

AFFIDAVIT OF LESLIE MARK STOVALL, ESQ. IN SUPPORT OF THE
APPLICATION FOR ORDER FOR ALTERNATIVE SERVICE

STATE OF NEVADA)
) ss:

COUNTY OF NYE)

COMES NOW LESLIE MARK STOVALL, ESQ, who afier first being duly sworn,
deposes and says:

1. On September 27, 2018 the plaintiff's complaint was filed in the Clark County District

Court seeking damages from Cristiano Ronaldo for a sexual assault (sodomy) that occurred on
June 13, 2009 in Las Vegas Nevada, an ongoing fraud and conspiracy arising from a purported
settlement agreement in 2010, and the breach of that settlement agreement and defamation
occurring in 2017. Due to limitations in service under NRCP 4 the Plaintiff filed her complaint in

this court on January 27, 2019.

 
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2. Defendant Cristiano Ronaldo is a Portuguese citizen and a professional soccer player.
The defendant played soccer for Manchester United Soccer Club in England, from 2005 to 2009.
In 2005, defendant was arrested for allegedly raping a woman at the Sanderson Hotel in London,
England. Attached hereto as Exhibit 1 (AF FT 00003) and incorporated herein by reference is the
Sun Sport is reporting the arrest of defendant in 2005.
3. In 2009 the defendant contracted to play soccer with the Real Madrid Soccer Club.
Following the announcement of the Real Madrid contract the defendant visited Las Vegas.
During this visit the defendant sexually assaulted the plaintiff.
4. In 2015 “Football Leaks” published information regarding soccer players and teams
financial dealings which eventually lead to the prosecution of the defendant for tax fraud in
Spain. On June 15, 2018 the Washington Post reported that:
Portuguese soccer star Cristiano Ronaldo reached a deal with Spanish
prosecutors in his tax evasion case. agreeing to a massive fine and
prison sentence, though he is unlikely to serve any time because he’s
a first time offender....Ronaldo, who played for La Liga Titan Real
Madrid since 2009, was accused by Spanish authorities of evading
€14.7 million about $17.1 million in taxes between 2011 and 2014.
Prosecutors allege that Ronaldo set up a company in 2010 to manage
his image rights in the British Virgin Island then transferred those
rigths to a second company in Ireland, solely for the purpose of
creating a screen to confuse Spanish tax authorities.
Under the agreement, that amount was reduced to €5.7 million (about
$6.6 million) he will pay a fine of €18.8 million (about $21.8 million)
but likely will not head to prison. because under Spanish law. first-
time offenders who are sentenced to less than two years may serve
their time on probation.

Attached hereto as Exhibit 2 (AF FT 00005) and incorporated herein by reference is the

June 15, 2018 Washington Post article reporting defendant's plea agreement.

5. It was widely reported in the Spanish media that the tax fraud case influenced
Ronaldo’s decision to move to Juventus soccer club in July, 2018. in Turin (Torino), Italy.
Attached hereto as Exhibit 3 (AF FT 00009) and incorporated hereby reference is the Financial

Times article regarding the defendant’s decision to move to Juventus soccer club.

6. The address of the defendant’s residence is not known. In 2017 Sport. One reported in

 
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an article entitled “The Most Expensive Houses Owned By Cristiano Ronaldo” that the defendant

owned the following residential properties:

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1. La Finca Mansion, Spain

“Ronaldo’s La Finca residence has a price tag of 6.2 million”... “It comes as no surprise
that a world renowned personality like Cristiano would buy a house in La Finca, which is
a very private , highly secure place. The paparazzi cannot easily get in, which is
advantageous to a big star like CR7. Security cameras are positioned along the roads to
monitor who goes in and out of the village, plus the houses are being shielded from the
public view with the help of metal fences that stand eight feet tall.”

2. Trump Tower, New York

“Anyway, Ronaldo’s NYC apartment (measures 2509 ft.?) is located in Trump Tower,
and is part of the buildings “L — Line” spaces. Well. the ones included in this special
category have a nice view of the Hudson River, the Empire State building, in Central Park
to name a few . That being said apartments in this ‘clique’ are madly expensive.

Cristiano is priced a dizzying $18.5 million, and was designed by Juan Pablo Molyneux
»whose expertise is maximalism”... “This property was previously owned by Donald
Trump’s business partner, and Italian tycoon named Alessandro Proto.”

3. Alderly Edge Mansion, England

“The real Madrid player bought it back in 2006 for $6 million. The five-story mansion
includes five bedrooms. bathrooms for him and her. and has mirrored ceilings as well. It
also has a media room and a cinema. as well as an indoor swimming pool, Jacuzzi and
gym. It is surrounded by tall gates as well as high security fence to protect his privacy,
especially from the paparazzi.”

4. Coco Bay Towers, Vietnam
“The Real Madrid star officially became the first resident of the Coco Bay Towers in

Vietnam. Prices of units at Coco Bay range from VND 1,615,000,000 for a one-bedroom
45sqm unit to VND 4,068.000,000 for the two-bedroom 82sqm unit.”

Attached hereto as Exhibit 4 (AF FT 00012-18) and incorporated herein by reference is the Sports

One Article regarding the defendant’s most expensive houses.

7. In July 2018 it was announced the defendant had contracted to play soccer with

Juventus Soccer Club located in Turin (Torino) Italy. Attached hereto as Exhibit 5
(AFFT 00018-19) and incorporated herein by reference is the Forbes article in reporting the

defendant’s contract and transfer to Juventus Soccer Club.

8. In late July 2018 it was reported that defendant was looking for a place to live in Turin

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Italy. On October 10. 2018 the Goal published an article entitled “Cristiano Ronaldo’s House:
Where Does the Juventus Player Live?” which stated:
Ronaldo is believed to have made two connected villas his new base in
the north of Italy.According to the Gazetta dello Sport, the Portuguese
captain’s new home is situated in the hills above Gran Madre de Dio in
the heart of Turin and, as you might expect is accessible only via a
private road.
Privacy is clearly a key consideration for Ronaldo and the buildings are
shielded from prying eyes through lush leaves of trees and vegetation
which is dotted around the property.
Attached hereto as Exhibit 6 (AF FT 00026) and incorporated herein by reference is the
Goal article regarding the defendant’s house in the Hills of Gran Madre De Dio.
9. The defendant has personal knowledge of the summons and complaint filed by the
plaintiff on September 27, 2018. The defendant and his surrogates, including the Juventus Soccer
Club, have publicly commented on the allegations set forth in the complaint to international news
agencies and on social media. On October 2. 2018, CNN reported the following:
Ronaldo's representatives denied the rape allegations when German
publication Der Spiegel first reported them in 2017. After the outlet broke
news of the lawsuit Friday in an interview with Mayorga, Ronaldo’s
lawyer called the reporting “blatantly illegal”. “It violates the personal
rights of our client Cristiano Ronaldo in an exceptionally serious way.
This is an inadmissible reporting of suspicions in the area of privacy”,
lawyer Christian Schertz said in a statement. Ronaldo appeared to dispute
the claims in an Instagram live post on Friday: “What they said today, fake
~— fake news. They want to promote by my name. It’s normal. They want
to be famous — to say my name. Yeah but it’s part of the job. I’m (a) happy
man and all, all good.

Attached hereto as Exhibit 7 (AF FT 00033) and incorporated herein by reference is the

October 3, 2018 CNN Wire article.

10. On October 3, 2018 the Independent reported that, “Taking to Twitter on Wednesday,
Ronaldo said: ‘I firmly deny the accusation being issued against me” Attached hereto as Exhibit
8 (AF FT 00039) and incorporated herein by reference is the Independent article of October 3,
2018.

11. On October 10, 2018 USA Today published the plaintiff's complaint filed in the

 
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Clark County District Court on it’s website and Ronaldo’s October 3, 2018 denial of those
allegations. USA Today then reported the following:

Mr. Ronaldo has always maintained, as he does today, that what
occurred in 2009 in Las Vegas was consensual in nature, attorney Peter
Christiansen said in a statement to USA Today Sports and other outlets
on Wednesday.

Christiansen confirmed that Mayorga reached a settlement with
Ronaldo’s representatives in 2010. The lawsuit seeks to void that
$375,000 settlement, which included a non-disclosure agreement.

While Mr. Ronaldo does not deny the existence of a mutual agreement
and release, his motivations for agreeing to that resolution have been
twisted to say the least, Christiansen said. Far from any admission of
guilt or alternative motive Mr. Ronaldo was advised to privately resolve
the allegations against him in order to avoid the inevitable attempts that
are now being made to destroy his reputation that has been built on hard
work. athleticism and honor.

Attached hereto as Exhibit 9 (AF FT 00045) and incorporated herein by reference is the
USA Today October 10, 2018 article.

12. On October 10. 2018 BBC Sport reported the following statements by Peter
Christiansen. Esq.:

“Cristiano Ronaldo has mandated his lawyers in the United States and

Europe to deal with all legal aspects and expresses full confidence that
the truth will prevail. despite the corruption of counter information and
in which the laws of Nevada will be enforced and respected.”

“So there is no doubts: Cristiano Ronaldo vehemently denies all
accusations in the civil action, in consistency with what he has done in
the last nine years.”

“ The documents allegedly contain statements by Mr. Ronaldo and were
reproduced in the media are pure inventions.”

“By 2015, dozens of entities (including law firms) in different parts of
Europe were attacked and their electronic data stolen by a cyber
criminal. This hacker tried to sell such information, and immediate
outlet irresponsibly ended up publishing some of the stolen documents,
significant parts of which were altered and or completely fabricated.”

“Once again for the avoidance of doubt, Cristiano Ronaldo’s position
has been and continues to be that what happened in 2009 in Las Vegas
was completely consensual.”

Attached hereto as Exhibit 10 (AF FT 00048-49) and incorporated herein by reference

 
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is the October 10, 2018 BBC Sports article .

13. On October 10, 2018 the Irish Times reported the following statement by Peter
Christiansen stated that, “Mr. Ronaldo will leave all future discussion of any and all legal matters
to his attorneys here and in Europe.” Attached hereto as Exhibit 11 (AF FT 00032) and
incorporated herein by reference is the Irish Times article dated October 10, 2018.

14. On October 11, 2018 Calciomercato.com reported that the statements of Peter
Christiansen, Esq. quoted by the press were released through Gestifute. an agency founded and
managed by Ronaldo’s lawyer Jorge Mendez. Attached hereto as Exhibit 12 (AF FT 00055) and
incorporated herein by reference is a copy of the Calciomercato.com article dated October 10,
2018.

15. On October 11, 2018 Der Spiegel reported:

Mayorga’s lawyer says that criminal defense attorney David Chesnoff
claims to be Ronaldo’s legal representative in this case. On Wednesday
night however , a new lawyer emerged publicly. The American attorney
Peter S Christiansen published a statement through Gestifute. the agency
that represents Ronaldo. In the statement Christiansen challenged Der
Spiegel’s coverage and claimed that significant portions of the
documents were altered and/or completely fabricated.
The statement would seem to indicate that Ronaldo’s lawyer have
decided to pursue a defense strategy that they have used in response to
unfavorable news coveragyeral times. When Der Spiegel published it’s
first story about the alleged rape and about the out-of-court settlement
between Mayorga and Ronaldo in 2017, his advisers called the report
“journalistic fiction”. In Christiansen’s most recent statement however
he admits that a settlement exist and that Ronaldo agreed to it.
Attached hereto as Exhibit 13 (AF FT 00059) and incorporated herein by reference is a
copy of the October 11, 2018 Der Spiegel article.

16. In September, 2018 the plaintiff was informed that the defendant retained David
Chesnoff. Esq. to represent his interest in this matter. Attached hereto as Exhibit 14 (AFFT
00062) and incorporated hereby reference is Mr. Chesnoff’s letter dated October 3, 2018

acknowledging representation of the defendant.

17. The plaintiff's retained process server contacted Mr. Chesnoffs office for service and

 
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was informed he was not authorized to accept service on behalf of Cristiano Ronaldo. Attached
hereto as Exhibit 15 (AF FT 00065) and incorporated herein by reference is the November 14,
2018 email from Norma McMahan, LPS general manager stating that defendant’s lawyer Mr.
Chesnoff was not authorized to accept service of process.

18. Subsequently, plaintiff was informed that Peter Christiasen Esq. was retained to
represent Cristiano Ronaldo’s interest in this matter. On November 14. 2018, LPS contacted Mr.
Christiansen for service. Attached hereto as Exhibit 16 (AF FT 00067) and incorporated herein by
reference is the email from Norma McMahan, LPS general manager's attempt to reach and speak
with the defendant’s lawyer Peter Christiansen regarding accepting service of the summons and
complaint.

19. On November 26, 2018 by letter Peter Christiansen, Esq. stated that he was not
authorized to accept service of process and that his client expected service to comply with
international law. Attached hereto as Exhibit 17 (AFFT 00069) and incorporated herein by
reference is a copy Peter Christiansen’s letter dated November 26. 2018.

20. The defendant has a significant presence on the internet as a professional soccer
player, a promoter of products including his CR7 line of businesses and his own image. On July
10, 2018 Money reported in an article entitled Cristiano Ronaldo Is Worth A Staggering $400
Million: Here’s How The Soccer Star Spends His Millions, that :

Ronaldo is one of the few athletes who has a lifetime contract with
Nike —Michael Jordan and LeBron James are the only other two
athletes with the same deal —worth around $1 billion. which he signed
in 2016.

He has so many endorsement deals and sponsorships — Tag Heuer,
Herbalife, KFC, EA Sports, American Tourist are to name a few- that
it's nearly impossible to keep track of all of them, according to Forbes.
One of Ronaldo’s most unusual partnerships is with Egyptian Steel, a
steel company trying to gain a market share in Egypt.

The real Madrid player has his own clothing line called CR7 (his Real
Madrid jersey number is seven), which includes everything from
underwear and fragrances to kids clothing. He even has hotels branded

under his CR7 line through the Pestano Lifestyle Hotels company.
Forbes reports that Ronaldo also has plans to open restaurants in

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Brazil.
And aside from his endorsements and sponsorship deals, he also has a
free smart phone app called Cristiano Ronaldo: Kick and Run, as well
as a Selfie app that allows you to photoshop Ronaldo into your photos.
He even has his own museum in his home country of Portugal called
the Museu CR7.

Attached hereto as Exhibit 18 (AF FT 00073-74) and incorporated herein by reference

is a copy of the July 10, 2018 Money article.

21. On August 23, 2016 AKSharit reported that the list of products endorsed by the
defendant include: DAZN, Nike, CR7 Cristiano Ronaldo Luxury Underwear, CR7 Cristiano
Ronaldo Footwear, CR7 Cristiano Ronaldo Blankets. Cristiano Ronaldo Legacy Fragrances,
Pestana Hotel Group, Egyptian Steel, Herbalife. Clear Hair Products, Tag Heuer watches, Poker
Stars, Abbott Laboratories, Save the Children Fund. American Tourister luggage, Panzer Glass,
and Smaash Entertainment. Attached hereto as Exhibit 19 (AF FT 0008!/-92) and incorporated
herein by reference is a copy of the August 23. 2018 AKSharit article.

22. On February 23 , 2016 Forbes reported in an article entitled Cristiano Ronaldo Is First
Athlete With 200 Million Social Media Followers that. ~The social breakdown for Ronaldo is
109.7 million fans on Facebook, 49.6 million on Instagram and 40.7 million on Twitter.”
Attached hereto as Exhibit 20 (AF FT 00098-100) and incorporated herein by reference is a copy
of the February 23, 2016 Forbes Article.

23. On July 10, 2018 Forbes reported in an article entitled Cristiano Ronaldo Takes A
Wage Cut And Leaves For Real Madrid for Juventus. that:

Ronaldo is a one — man economy. thanks to his role as the dominant
personality in the world’s biggest sport. He has more than 300 million
followers across Facebook. Twitter and Instagram, and his personal
Facebook page alone has 122 million fans. 20 million more than any other
person on the planet.
See Exhibit 5 (AFFT 00021), a copy of the July 10, 2018 Forbes article.
24. Currently, the home page of Cristiano Ronaldo’s Facebook states he has 122,700,450

followers, Attached hereto as Exhibit 21 (AF FT 000104) and incorporated herein by reference is

 
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a copy of the defendant’s Facebook home page.

25. The home page of Cristiano Ronaldo's Twitter states he has 75,900,000 followers
Attached hereto as Exhibit 22 (AFFT 000106) and incorporated herein by reference is a copy of
the defendant’s Twitter Home page.

26. The home page of Cristiano Ronaldo's Instagram states he has 150 million followers.
Attached here to as Exhibit 23 (AF FT 000/08) and incorporated herein by reference is a copy of
the defendant’s Instagram Home page.

27. In addition to promoting himself and sponsored products, the defendant has used
these social media platforms to defend himself against charges of tax fraud and sexual assault,
including plaintiff's complaint of sexual assault filed September 27, 2018 in the Clark County
District Court.

28. Following local counsel's refusal to accept service of the summons and complaint on
behalf of the defendant and the October. 2018 reporting that the defendant had arranged for
housing in the area of Turin (Torino) Italy. the plaintiff instructed LPS to hire a process server in
Italy to locate and confirm the defendant's place of the residence and to personally server of the
summons and complaint on the detendant. To date LPS and the Italian process server have not
been able confirm a residential address for the defendant or personally serve the defendant.
Attached hereto as Exhibit 24 (AF FT 0001 12-113) and incorporated herein by reference is a copy
of the email from Norma McMahan. LPS manager in regards to the attempt to locate defendant
residence in Turin (Torino) Italy.

29. The plaintiff hired Legal Process Service (LPS), a private process service company, to
\determine the address of the defendant's residence in Turin, Italy, to personally serve the
summons and complaint upon the defendant, and initiate service pursuant to Article 5 and 10(a)
of the Hague Service Convention. The reporting by LPS of it’s efforts on behalf of the plaintiff
are summarized as follows:

a. November 14, 2018 — sorry for the delay but the tines are not prompt to
respond. One of the servers had previously been in contact with said he

 
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will not do it and refuses to send a server to the residents because of the
private guards and their reputation. Attached hereto as Exhibit 25 and
incorporated herein by reference is the November 14, 2018 email from
LPS.

b. November 15, 2018 —I heard back from a server in Italy. They said they
will attempted but he was not really enthusiastic about having to go to the
residents. ] told him we wanted to servers, one to handle the
delivery/service in another the video/photograph the delivery/service. I am
waiting on his fee and will get back to when he replies. Attached hereto as
Exhibit 26 and incorporated herein by reference is the November 15, 2018
email from LPS.

c. November 16, 2018 — please be advised that I have confirmation from
server who will handle the request. You'll provide to servers, one to
handle the service/delivery and the other to record the delivery. We all
have to wired transfer the funds to them. Fee will run €1500. A little over
$1700. Please note this does not include wire transfer fees and LPS fee is
$225. Attached hereto as Exhibit 27 and incorporated herein by reference
is the November 16, 2018 email from LPS.

d. December 13, 2018 —also. on a side note, I have requested an update
from the server in Italy regarding Ronaldo. I will update you as soon as
possible. Also. Mr. Stovall! also requested that I submit a second request
for service on Ronaldo per page protocols. | will have a deposit invoice to
you soon. As requested the docs have to be translated to Italian before we
can do anything with the service. Attached hereto as Exhibit 28 and
incorporated herein by reference is the December 13, 2018 email from
LPS.

e. December 14. 2018 —... Please note that ] have to have an address for
Ronaldo when submitting The Hague request. At this time, the only
addresses I have for him or those associated with Juventus, the football
club he plays for in Italy. I have addresses for the practice facility and Club
Headquarters: however. I do not have a residence address. I have asked the
server in Italy to provide me any and all addresses they find for him. I will
keep you updated. However, if by the time, I am ready to submit The

Hague package. if ] have not received word of any additional dresses, then
I will provide the (2) two addresses for Juventus. Please remember that
service per Article 5 of The Hague. which is the standard most commonly
sought service option will take four months or longer. Also, once service is
submitted, the central authority is not required to provide status updates,
so it is a wait and see. ] will have a deposit invoice to you by early next
week.

It is possible to utilize the service of an attomey in Jtaly. The Italian
attorney has to petition the court for a service order. This alternate method
per article 10 of The Hague bypasses the central authority. It usually

means a faster service by a month or two; however, these usually start at
about 3000 or higher. Attached hereto as Exhibit 29 and incorporated
herein by reference is the December 14, 2018 email from LPS.

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f. January 3, 2019 — please advise it server in Italy is having to go through
the terminus will government to get confirmation of Ronaldo’s address.
Server knows the location of the community, but the actual address is not
known. I have received the deposit check for the fee associated to process
the service via Hague Article 5 protocols; however, I too need the address
before I can precede. I will keep you updated. Attached hereto as Exhibit
30 and incorporated herein by reference is the January 3, 2019 email from
LPS.

g. January 17, 2019 — I have the translated docs. However, server in Italy is
still trying to confirm Ronaldo’s home address with the municipal
government. If you prefer I do not wait, I can try substituting The Hague
request by referencing (2) two addresses I have for Juventus football club,
his employer. Please advise if you want me to proceed with the addresses
for Juventus or if you prefer I wait a little longer to see if the time server
can obtain physical address from municipal government in Turin. Attached
hereto as Exhibit 31 incorporated herein by reference is the January 7 team
2019 email from LPS.

h. January 29, 2019 — regarding server in Italy, | am waiting to hear trom
them and will update you right away. But as of January 17, 2019 they are
still trying to secure/confirm physical address. If you want | would like to
instruct server to try the offices of Juventus to see if they will help and/or
provide the name of an attorney for Ronaldo. Please note additional fees
will more likely apply. Attached hereto as Exhibit 32 and incorporated
herein by reference is the January 29, 2019 email from LPS

i. January 29. 2019 — re-: private server in Italy. They believe they have
located the community where the defendant resides. The problem is that
there is not a guard at the gate and entry is not possible. They have been
attempting to secure a valid physical address for the defendant through
municipal government but are having a lot of difficulty. Server said they
would be providing another update soon.

Re: Hague service per Article 5. I had docs translated from English to
Italian per my conversation with Ronald of January 7, 2019. Please note
that in order to proceed with the Hague service I have to have an address.
If you do not wish to continue to wait, | can submit the docs and indicate
the addresses I found for Juventus Football Club. My hope is that the
authorities who will be handling the service will be able to get information
and/or cooperation from his employer. Again I’m hoping the business
address will be enough to aid with certain the service.

There is also the possible option of going directly to the judicial
official/officially Giudizario (party who normally serves process in Italian
cases). However, it’s my understanding that would require hiring an Italian
counselor to prepare a service order. Attached hereto as Exhibit 33 and
incorporated herein by reference is the January 29, 2019 email from LPS.

j. January 30, 2019 — hi Ron, | will get quote to you an invoice for

payment of translation fees and service fees for Hague service of the
docks. Please note that because this is a different case, it will require a

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separate handling from the case filed in the Eighth Judicial District Court,
and additional fees will apply attached hereto as Exhibit 34 and
incorporated herein by reference is the January 30, 2019 email from LPS.

k. February 1, 2019 — server in Italy updated me. He has not had any luck
confirming a home address and turn for Ronaldo. He said Juventus players
are like royalty there. He said he can provide me the address for the
community but not Ronaldo’s personal residence. He said he is certain that
Ronaldo is residing in the community. Server said that all efforts to
confirm an address within the community were to no avail. He said records
go blank when he searches anything for Ronaldo and when it comes to the
community, property records have been blacked out or it is as if they do
not exist. J asked server to run the name of Ronaldo’s girlfriend and

mother in an effort to see if perhaps he can get something on either. He
said he would have something for me on that next week.

Server said they also attempted at the offices of Juventus. Server was told
he could leave the docs and that they would forward them to Ronaldo’s
reps. Server did not leave copies.

Server is going to email me the address for the community. We can try
mailing a copy of the documents to the community and hope that it makes
it to the carrier for the community and that it eventually gets delivered to
the correct address. Also, if you like, we can asked server to go back to
Juventus to leave a copy of the documents there. As you can imagine. we
cannot be sure what will be outcome of these efforts. Attached hereto as
Exhibit 35 and incorporated herein by reference is the February 1. 2019
email from LPS.

30. By way of this application the plaintiff specifically seeks this court's

order for publications in local newspapers of the summons in Las Vegas Nevada.

and Turin (Torino) Italy.

31. Further, the plaintiff seeks an order for service by regular postal mail.

fed express and email to the following business closely associated with the
defendant. as an alternative and mailing to the defendant’s residential address by
the clerk of the court Legal Process Service (LPS) a private process service

company or to the following:

1. Jorge Mendez and Gestifute:

a)PORTO

A. Praceta do Bom Sucesso 61
Rooms 706/7/8

4150-146 Porto

12

 
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oa YN WB Ww FSF WD NO —-= DW OO Oo SI DB A BP W HH | OS

 

Case 2:19-cv-00168-JAD-CWH Document 6 Filed 03/01/19 Page 13 of 15

P. +351 22 608 4455
F. + 351 22 608 4459

E. gestifute@gestifute.com

b) LISBON

A. Alameda dos Oceanos - Espace Building
Lot 1.06.1.4 - Office 3.18

1990-207 Lisbon

P. +351 21 898 7070

F. + 351 21 898 7079

E. gestifute@gestifute.com

c) GESTIFUTE MEDIA

A. Praceta do Bom Sucesso 61
Rooms 706/7/8

4150-146 Porto

P. +351 22 543 2642

F. + 351 22 608 4459

Copy: Manuela Brandao

E. media(@gestifute.com
Photos: Jorge Monteiro

E. photo@gestifute.com

d) POLARIS SPORTS

A. Alameda dos Oceanos - Espace Building
Lot 1.06.1.4 - Office 3.18

1990-207 Lisbon

P. +351 21 898 7070

F. + 351 21 898 7079

E. info(@polarissports.com.pt

W. http://www.polarissports.com.pt

2. Juventus Soccer Club and Coach Massimiliano Allegri
Via Druento, 175 10151
Torino, Italy

Email: Info@juventus.com
Www. juventus.com

3. Carlos Osorio de Castro

a) LISBON

Rua Castilho, 165
1070-050 Lisboa — Portugal
T +351 213 817 400

F +351 213 817 499

mligitslisboa@m|gts.pt

b) FUNCHAL, MADEIRA
Av. Arriaga, n.° 73, 1.°, Sala 113
Edificio Marina Club

9000-060 Funchal — Portugal

T +351 291 200 040

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F +351 291 200 049
milgtsmadeira@mlgts.pt ~

c)Porto

Avenida da Boavista, 3265 — 5.2
Edificio Oceanvs

4100-137 Porto — Portugal

T +351 226 166 950

F +351 226 163 810
migtsporto@mlgts.

4. Christian Schertz

Schertz Bergmann Rechtsanwaelte
Kurfiirstendamm 53

D-10707 Berlin

Phone +49 30 880 01 50

Fax +49 30 880 01 555

5. Peter S. Christiansen, Esq.

810 South Casino Center Boulevard
Suite 104

Las Vegas, NV 89101

Email: pete@christiansenlaw.com

32. On December 28, 2018 LPS submitted an affidavit of due deligence to

my office describing its efforts to locate the defendant's residence in Nevada and

the United States and confirmed LPS had initiated service of process through the

central authority designated by the Italian government for service of process

pursuant Article 5 (a) of the Hague Service Convention. See Exhibit 24.

33. Plaintiff is seeking counsel in Italy to separately obtain orders of

service of process from the Italian courts pursuant to Article 10 (a) of the Hague

Service Convention. LPS advises this process may take 180 days.

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Therefore I request an extension of time for service under Article 10 of the Hague
Service Convention for 180 days. I have been advised that process can take 3 to 6

months.

 

  

REAR GAS OCOENOI. . es
=. MARIAHERNANDEZ %
n\ Nery Pubic - Stato of Nevada gp LESLIE MARK STIOVALL, ESQ.

County of Clark

     
   
 

Y) APPT.NO. 17-3833-1
2 My App. Expires Oct. 18, 2021 8

    

SUBSCRIBED and SWORN to before me
this 2 & day of February, 2019.

Wha Chitnmg7-
NOTARY PUBLIC in and for Said

County and State

 
